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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

THOMAS HALL,

Plaintiff,
-against- RULE 7.1 DISCLOSURE
STATEMENT
HOFSTRA UNIVERSITY,
Case No. 2:20-cv-2638 (JS-
Defendant. ST)

 

Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned
counsel for the Defendant Hofstra University discloses:

Hofstra University does not have a parent corporation or publicly held stock.

Dated: October 6, 2020 BOND, SCHOENECK & KING, PLLC

By:___s/ Suzanne Messer
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